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                                      CLERK'S MINUTES OF ARRAIGNMENT

        Date ____08/29/2005____ Judge ______TORGERSON___ Clerk ______Mary Lou Gonzales____

        USA vs. __     RUSSELL TRUJILLO                                    __ Crim. No. ____05-1849 JH

        Deft. present with/without counsel__________ VAL WHITLEY, CJA            _____
                                                  Name            Apptd/Retd
        U.S. represented by ________ JAMES BRAUN                             _________AUSA

        Deft. not present __________   Marshal called for Deft. in hallway: Yes/No
        Bench warrant issued ___________       Bond forfeited _______________
        Interpreter present:          Name of Interpreter___                ____
        Interpreter Used:             Interpreter Sworn:

        COURT ASKED THE DEFENDANT:

        ____ Name ______ Russell Jay Trujillo              ___SS#_____ 7239            ____
        ____ DOB ______ 1950                  ______ Tel. No. ___               ______________
        ____ Residence Address ________                                                ___
        ____ Extent of education/schooling ____________ 2 yrs. college _____________________

        Y (N) Whether he is currently or has been recently under the care of a physician or psychiatrist; if he has
              been hospitalized or treated for narcotic addiction

        (Y) N Whether he has received a copy of the Indictment
        (Y) N Whether he has had time to consult with attorney regarding penalties
        Y (N) Whether he wants Indictment read in open court
        (Y) N Whether he will waive reading of Indictment
        (Y) N Whether he is ready to plead
_X_ Defendant entered plea of not guilty to all counts
____ Defendant entered plea of not guilty to count Nos. ____________________________________________
_X__ Matter referred to USDC
_X__ Counsel ordered to file any motions by ______ 9/20/05      _________________________________
_X__ Case assigned to: HERRERA
_X_ Trial set on trailing docket_________TO BE NOTIFIED                ________________________________
_ _ Defendant requested psychiatric examination. Instructed to file motion in USDC
_X _ Bond set/continued at ____ DEFT TO BE RELEASED ON PROPERTY BOND
____ Previous bond motion denied; advised to file bond appeal in USDC
____ Unseal Case
____ Penalty for failure to appear explained
_X_ Discovery Order Distributed (e-filed)
_ _ First Appearance of Defendant          MAG. TAPE NO.__05-23 ACT @             287          _________


CONDITIONS: Secured property bond in the amount of equity owned in deft’s home & land; Report to
PTS; Deft allowed to farm his property in Corrales; Electronic Monitoring w/Home detention - pay
associated costs as appropriate; No contact, direct or indirect, w/co-defts; No guns; No alcohol or drugs,
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except Rx; Submit to alcohol/drug testing, treatment and/or counseling as directed; Deft must submit to
mental health assessment/counseling/treatment as directed; Travel restrictions to Sandoval & Bernalillo
Counties, or as otherwise authorized by PTS; Court advises deft he must either retain counsel or reimburse
the gov’t for services and fees rendered by his court appointed attorney.
